             Case 2:09-cr-00438-WBS Document 120 Filed 06/26/17 Page 1 of 3

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 6 Attorneys for Plaintiff
   United States of America
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 9                                 IN THE UNITED STATES DISTRICT COURT

10                                   EASTERN DISTRICT OF CALIFORNIA

11

12   UNITED STATES OF AMERICA,
                                                         CASE NO.: 2:09-CR-0438
13                    Plaintiff,
                                                         STIPULATION AND PROTECTIVE ORDER
14   v.                                                  BETWEEN UNITED STATES AND DICKSON
                                                         HUNG
15   DICKSON HUNG, et al.,

16                   Defendants.

17

18          Defendant Dickson Hung and the United States of America, by and through their counsel of

19 record, hereby agree and stipulate as follows:

20          1. This Court may enter protective orders pursuant to Rule 16(d) of the Federal Rules of

21             Criminal Procedure, and its general supervisory authority;

22          2. This Order pertains to all discovery provided to or made available to Defense Counsel as part

23             of discovery in this case (hereafter, collectively known as “the discovery”).

24          3. Defense Counsel shall not disclose any of the discovery to any person other than their

25             respective defendant/client, witnesses that they may be interviewing or preparing for trial,

26             attorneys, law clerks, paralegals, secretaries, experts, and investigators involved in the

27             representation of his/her client.

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      STIPULATION AND PROTECTIVE ORDER BETWEEN
30    UNITED STATES AND DICKSON HUNG
            Case 2:09-cr-00438-WBS Document 120 Filed 06/26/17 Page 2 of 3

 1        4. The discovery and information therein may only be used in connection with the litigation of

 2            this case and for no other purpose. The discovery is now and will forever remain the

 3            property of the United States Government. This discovery is entrusted to counsel for the

 4            defendant only for purposes of representation in this case.

 5        5. Defense Counsel will store the discovery in a secure place and will use reasonable care to

 6            ensure that it is not disclosed to third persons in violation of this agreement.

 7        6. If Defense Counsel make, or cause to be made, any further copies of any of the discovery,

 8            Defense Counsel will inscribe the following notation on each copy: “U.S. Government

 9            Property; May Not Be Used Without U.S. Government Permission.”

10        7. If Defense Counsel release custody of any of the discovery, or authorized copies thereof, to

11            any person described in paragraph (3), Defense Counsel shall provide such recipients with

12            copies of this Order and advise that person that the discovery is the property of the United

13            States Government, that the discovery and information therein may only be used in

14            connection with the litigation of this case and for no other purpose, and that an unauthorized

15            use of the discovery may constitute a violation of law and/or contempt of court.

16        8. The defendant in this case may review the discovery and be aware of its contents, but shall

17            not be given control of the discovery or any copies thereof.

18        9. Defense Counsel shall be responsible for advising his or her respective defendant, employees

19            and other members of the defense team, and defense witnesses of the contents of this

20            Stipulation/Order.

21        IT IS SO STIPULATED.

22 Dated: June 23, 2017                                   PHILLIP A. TALBERT
                                                          United States Attorney
23

24                                                  By: /s/ HEIKO P. COPPOLA
                                                        HEIKO P. COPPOLA
25                                                      Assistant United States Attorney
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     STIPULATION AND PROTECTIVE ORDER BETWEEN
30   UNITED STATES AND DICKSON HUNG
            Case 2:09-cr-00438-WBS Document 120 Filed 06/26/17 Page 3 of 3

 1 Dated: June 23, 2017
                                                By: /s/ Michael Hanson
 2                                                  MICHAEL HANSON
                                                    Counsel for Defendant
 3                                                  Dickson Hung
 4       IT IS SO FOUND AND ORDERED.
 5 Dated: June 26, 2017
                                                _____________________________________
 6                                              CAROLYN K. DELANEY
 7                                              UNITED STATES MAGISTRATE JUDGE

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     STIPULATION AND PROTECTIVE ORDER BETWEEN
30   UNITED STATES AND DICKSON HUNG
